       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 1 of 42




             IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                       :
JILL STEIN AND RANDALL REITZ, :                 CIVIL ACTION
                                       :
                  Plaintiffs,          :
                                       :
      v.                               :        NO. 16-CV-06287
PEDRO A. CORTÉS, et al.                :
                                       :
                  Defendants,          :
                                       :
      and                              :
President-Elect Donald Trump, et al.,  :
                                       :
                Defendant-Intervenors. :

    INTERVENORS PRESIDENT-ELECT DONALD TRUMP; VICE
PRESIDENT-ELECT MICHAEL PENCE; ALL OF THE PENNSYLVANIA
  ELECTORS OF PRESIDENT-ELECT DONALD TRUMP AND VICE
  PRESIDENT-ELECT MICHAEL PENCE; DONALD J. TRUMP FOR
       PRESIDENT, INC.; AND THE REPUBLICAN PARTY OF
  PENNSYLVANIA’S MEMORANDUM OF LAW IN OPPOSITION TO
     PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

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      Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 2 of 42




                          TABLE OF CONTENTS



Table of Authorities…………………………………………………………. ii

Introduction…………………………………………………………………. 1

Statement of Facts…………………………………………………………... 10

Argument …………………………………………………………............... 15

I. This Court Lacks Jurisdiction Over This Suit …………………………… 16

     A. Plaintiffs lack standing…………………………………………… 16

     B. The Rooker-Feldman doctrine deprives the Court of jurisdiction
        over Plaintiffs’ claims …………………………………………… 17

II. Plaintiffs Are Not Entitled To Injunctive Relief ………………………… 21

     A. Stein has not established any likelihood of success on her
        constitutional claims ……………………………………………… 22

     B. Plaintiffs do not face any irreparable injury ………………………. 30

     C. Plaintiffs’ requested relief would seriously harm Intervenors……. 31

     D. Granting an injunction would be contrary to the public interest…... 31

CONCLUSION ……………………………………………………………...35

CERTIFICATE OF SERVICE………………………………………………..38




                                       i
          Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 3 of 42




                                    TABLE OF AUTHORITIES

                                                                                                          Page(s)

CASES

Anderson v. Celebrezze,
  460 U.S. 780 (1983) ............................................................................................ 25

AT&T v. Winback & Conserve Program, Inc.,
  42 F.3d 1421 (3rd Cir. 1994) .............................................................................. 22

Banfield v. Cortés,
  110 A.3d 155 (Pa. 2015) ....................................................................................... 3

Belitskus v. Pizzingrilli,
   343 F.3d 632 (3d Cir. 2003) ............................................................................... 25

Bonas v. Town of N. Smithfield,
  265 F.3d 69 (1st Cir. 2001) ................................................................................. 25

Bush v. Gore,
  531 U.S. 98 (2000) ..........................................................................................5, 15

Caudill v. Eubanks Farms, Inc.,
  301 F.3d 658 (6th Cir. 2002) .............................................................................. 34

Constitution Party of Penn. v. Cortes,
  116 F. Supp. 3d 486 (E.D. Pa. 2015) .................................................................. 25

D.C. Court of Appeal v. Feldman,
  460 U.S. 462 (1983) ......................................................................................19, 21

Duncan v. Poythress,
  657 F.2d 691 (5th Cir. 1981) .............................................................................. 25

FMC Corp. v. AMVAC Chem. Corp.,
  379 F. Supp. 2d 733 (E.D. Pa. 2005) ............................................................27, 28


                                                         ii
          Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 4 of 42




Gollmar’s Election Case,
  175 A. 510 (Pa. 1934) ......................................................................................... 13

Great W. Mining & Mineral Co. v. Fox Rothschild L.L.P.,
  615 F.3d 159 (3d Cir. 2010) ...................................................................18, 19, 20

Griffin v. Burns,
   570 F.2d 1065 (1st Cir. 1978) .......................................................................25, 26

Harper v. Bd. of Educ.,
  383 U.S. 663 (1966) ............................................................................................ 23

Hoblock v. Albany Cty. Bd. of Elections,
  487 F. Supp. 2d 90 (N.D.N.Y. 2006) .................................................................. 25

Huffman v. Pursue, Ltd.,
  420 U.S. 592 (1975) ............................................................................................ 33

League of Women Voters of Ohio v. Brunner,
   548 F.3d 463 (6th Cir. 2008) ........................................................................25, 26

Lujan v. Defs. of Wildlife,
   504 U.S. 555 (1992) ............................................................................................ 17

Madera v. Ameriquest Mortg. Co. (In re Madera),
  586 F.3d 228 (3d Cir. 2009) ............................................................................... 18

Marks v. Stinson,
  19 F.3d 873 (3d Cir. 1994) ................................................................................. 26

Moore v. Sims,
  442 U.S. 415 (1979) ............................................................................................ 33

Port Auth. Police Benevolent Ass'n, Inc. v. Port Auth. of N. Y. & N.J.
  Police Dept’t,
  973 F.2d 169 (3d Cir. 1992) .........................................................................18, 33

Siegel v. LePore,
   234 F.3d 1163 (11th Cir. 2000) .......................................................................... 25

                                                         iii
           Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 5 of 42




United States v. Koreh,
  59 F.3d 431 (3d Cir. 1995) ................................................................................. 28

United States v. Mosley,
  238 U.S. 383 (1915) ............................................................................................ 25

Wittman v. Personhuballah,
   136 S. Ct. 1732 (2016) ........................................................................................ 16

STATUTES

3 U.S.C. § 5 ....................................................................................................5, 15, 31

3 U.S.C. § 7 .............................................................................................................. 15

25 P.S. § 3192 .......................................................................................................... 31

25 P.S. § 3456 .......................................................................................................... 29




                                                             iv
           Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 6 of 42




                                    INTRODUCTION

          Green Party presidential candidate Jill Stein finished fourth in the

Pennsylvania presidential election, garnering less than 1% of the votes cast by

Pennsylvanians. Yet despite being no more than a blip on the electoral radar, Stein

(along with one Pennsylvania voter) asks the Court to join them in commandeering

Pennsylvania’s electoral process, first by ordering a recount of each of the nearly

six million ballots cast in the election, and second by requiring a forensic

examination of voting machines, all with the final Electoral College deadlines just

days away.

          The gravity of Stein’s allegations, particularly in the context of a presidential

election, give rise to numerous threshold questions.

          What evidence does Stein have to back her claims? None, really. Stein

demands a recount due to the possibility of foreign-sourced hacking. She admits

that “[a] majority of machines voted for Donald Trump in Pennsylvania.” (Mem.

of Law In Support of Mot. for a Preliminary Injunction (ECF 5) [hereinafter “PI

Mot.”] at 2.) But she nevertheless demands a recount to answer what she believes

to be a distinct question: “who did the people vote for?” Id. (emphasis added).

          Despite its ominous nature, Stein’s complaint is entirely devoid of factual

grounding. There is no evidence—or even an allegation—that any tampering with

Pennsylvania’s voting systems actually occurred. To be sure, Stein claims there



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           Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 7 of 42




are vulnerabilities in Pennsylvania’s voting machines and references election-

related hacking outside of Pennsylvania. But she does not offer any evidence or

allegations that a single voting machine in Pennsylvania was hacked, let alone on a

scale sufficient to flip the Pennsylvania election. And don’t take our word for it

alone: Stein herself recently admitted that “there is no evidence of fraud at the

ballot box.” Daniella Diaz, Jill Stein defends her recount efforts, cnn.com (Nov.

28, 2016).1

          The absence of any evidence of tampering is no surprise. Before the

election, Pennsylvania Secretary of State Pedro Cortés assured Pennsylvania voters

that Pennsylvania’s voting systems are “secure,” and criticized contrary

suggestions as “not only wrong and uninformed,” but also “dangerous.” See

Remarks by Secretary of State Pedro A. Cortés, Press Conference, Capitol Media

Center, Harrisburg, PA (Oct. 20, 2016) (attached as Exhibit 1). He explained that

all voting systems in Pennsylvania were “examined and certified to federal and

state standards,” and that voting machines were “not connected to the Internet” or

“to one another,” thus reducing the risk of compromise. Id. And even though

already “recognized [as a] leader among states in cybersecurity,” the State adopted

a belt-and-suspenders approach by partnering with federal agencies, including the

Department of Homeland Security, “to ensure the integrity of [its] systems and


1
    Available at http://www.cnn.com/2016/11/28/politics/jill-stein-recount-2016-election/.

                                                  2
           Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 8 of 42




networks.” Id. And all of this comports with the conclusions reached in previous

litigation involving a challenge to the integrity of the same voting machines

Plaintiff challenges here. See Banfield v. Cortés, 110 A.3d 155, 174 (Pa. 2015)

(“[T]he Commonwealth Court found … the Appellants had not shown any more

than the mere possibility that the certified DREs in theory could be subject to

tampering, presenting no evidence that the challenged devices have failed to

accurately record votes or experienced a security breach in an actual election.”).

          Does anyone other than Stein and her small band of voters believe a recount

is necessary? No. To start, unlike the 1% candidate Stein, Secretary Cortés has

not lost confidence in the election’s integrity. Indeed, much the opposite. Asked

whether there was any evidence of voting irregularities during the November 8

contest, his answer was as adamant as it was unequivocal: “There is no evidence

whatsoever that points to any type of irregularity in any way, shape or form.” See

Dan McQuade, Here’s How the Jill Stein-Led Recount Effort Is Going In Philly,

phillymag.com (Nov. 29, 2016) (emphasis added).2 The White House, notably, has

said the same. See Geller, White House insists hackers didn’t sway election, even

as recount begins, POLITICO (Nov. 26, 2016).3 And so has the runner-up Clinton

campaign. Despite a flood of requests for the Clinton campaign to investigate the

election results, the campaign declined to challenge the election because it was

2
    Available at http://www.phillymag.com/news/2016/11/29/jill-stein-recount-philadelphia/.
3
    Available at https://perma.cc/5Z5C-Z59S.

                                                 3
        Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 9 of 42




unable to uncover “any actionable evidence of hacking or outside attempts to alter

the voting technology.” See Marc Erik Elias, Listening and Responding To Calls

for an Audit and Recount, medium.com (Nov. 26, 2016).4

       Even Stein’s biggest proponents lack confidence in her claims. Professor

Alex Halderman—an expert Stein has enlisted in this case—published an article

just two weeks ago, stating: “Were this year’s deviations from pre-election polls

the results of a cyberattack? Probably not.” See J. Alex Halderman, Want to

Know if the Election was Hacked? Look at the Ballots, medium.com (Nov. 23,

2016) (emphasis added).5

       This chorus of voices explains why the only evidence of election-related

hacking or attempted hacking Stein references here concerns entities or persons

outside of Pennsylvania—the Democratic National Committee, Illinois, and

Arizona. Allegations relating to these entities plainly cannot justify upsetting the

election results in Pennsylvania.

       What are the ramifications of Stein’s requested relief? Pennsylvania’s

absence from the Electoral College. Even with heroic efforts by state and local

elections officials, Stein’s proposed process would last weeks, perhaps even

months. Either way, her requested relief would virtually guarantee that

4
  Available at https://medium.com/@marceelias/listening-and-responding-to-calls-for-an-audit-
and-recount-2a904717ea39#.8qzvzno97.
5
  Available at https://medium.com/@jhalderm/want-to-know-if-the-election-was-hacked-look-at-
the-ballots-c61a6113b0ba#.umbgt1gvq.

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       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 10 of 42




Pennsylvania would not be able to certify its Presidential Electors by December 13,

the federal safe-harbor deadline for doing so. See 3 U.S.C. § 5 (requiring disputes

over electors to be resolved by December 13); Bush v. Gore, 531 U.S. 98, 110

(2000) (this statute “requires that any controversy or contest that is designed to

lead to a conclusive selection of electors be completed by” that date). If this

occurs, Pennsylvania’s very seat at the Electoral College is jeopardized, which in

turn risks disenfranchising all of the Pennsylvania voters whose constitutional

rights Stein purports to vindicate. In fact, Stein acknowledged this risk in

advancing similar recount efforts in Michigan, telling the Sixth Circuit that

“Michigan must complete a recount of votes by December 13, the federally

imposed deadline for the selection of electors to the Electoral College.” Stein’s

Mem. of Law at 1, Stein v. Thomas, No. 16-2690 (6th Cir. Dec. 6, 2016) (ECF 12)

(emphasis added). Stein omits any such language in her filings here, likely

because she knows that her demands all but ensure that Pennsylvania could not

possibly meet that deadline.

      What are Pennsylvanians’ reaction to Stein’s last-minute recount request?

Shock and dismay, most likely. Having endured a lengthy, expensive, hard-fought

Presidential election, Pennsylvania voters surely expected their votes would be

accounted for when the Electoral College meets this December. Yet the legal

antics of a 1% candidate call all of that into question.


                                           5
           Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 11 of 42




          Has Stein asked local voting officials to conduct recounts themselves? Yes,

and the results there contradict her claims here. Stein’s first initiative was to corral

voters and fund them to file recount petitions in voting precincts across the State.

Virtually all of those are complete, and they have shown very little change in the

final vote tally. Nor, critically, have they shown any evidence of the diabolical

plot imagined by Stein.

          Is this the first court to hear Stein’s claims? No. Before this case, she

pursued similar claims as part of an election contest filed with the Commonwealth

Court of Pennsylvania. There, like here, Stein cited “grave concerns” about the

integrity of the election. Despite weeks’ worth of time and energy, however, Stein

and her allies could not even allege—much less prove—a single instance of fraud

or tampering anywhere in the State. She ultimately dismissed her action as a

result, clamoring that “the fix was in.” Caroline Kenny, Jill Stein says she'll

'escalate' Pennsylvania recount case after earlier plans to drop it, cnn.com (Dec.

5, 2016).6 That “fix” apparently necessitated Stein “escalating” her claims to this

Court. Id.

          Has Stein accurately characterized her prior court proceedings?

Unfortunately, no. Facing the certainty of dismissal of her election contest due to a

complete absence of evidence of fraud, Stein and her allies voluntarily dismissed


6
    Available at http://www.cnn.com/2016/12/03/politics/jill-stein-drops-pennsylvania-recount/.

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       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 12 of 42




the case the weekend before her Monday morning hearing (presumably to avoid a

published order rejecting her claims). At the time, Stein and her allies told the

state court the dismissal was due to the fact that the petitioners could not “afford”

to post the $1 million bond required by the Commonwealth Court. We now know

that is false.

       Asked in an interview why she decided to pursue an “action in federal court

instead of paying out the $1 million bond,” Stein replied: “Well, the problem was

not that it was too expensive, but that it was a dead-end course of action.” Prachi

Gupta, Jill Stein on What's Next With the Recount Effort in Wisconsin, Michigan,

and Pennsylvania, Cosmopolitan.com (Dec. 6, 2016) (emphasis added).7 She

complained that the state court was being “political” by demanding evidence of

election-related tampering she simply did not possess. See id. So she strategically

dismissed her case.

       This has not stopped Stein from advancing a contrary position in this Court,

however. Consistent with what petitioners told the Commonwealth Court—but in

direct contradiction to what Stein has since told the media and the public—Stein

claims that the Commonwealth Court’s decision to set bond at $1 million “forced”

petitioners “to withdraw the contest proceeding,” because they “could not possibly

post an exorbitant $1 million bond.” (Complt. (ECF 1) at ¶¶91-92.) She cites this

7
 Available at http://www.cosmopolitan.com/politics/a8467128/jill-stein-voter-recount-
wisconsin-michigan-pennsylvania/.

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          Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 13 of 42




fact to tee up her constitutional claims here—namely, that the $1 million bond was

an “insurmountable barrier[]” to obtaining a recount and thus an unconstitutional

abridgment of the right to vote. (PI Mot. at 30.) So she had no choice, we are told,

to “escalate” her legal claims.

         Setting aside the reason Stein failed to pursue state statutory remedies, have

Stein and Reitz satisfied Article III standing requirements for asserting claims in

federal court? No. Neither she nor Plaintiff Reitz have Article III standing to seek

such relief. As to Stein, she has not alleged an injury-in-fact likely to be redressed

by any ruling related to the need for a recount. She does not contend that a

Pennsylvania recount will result in her securing Pennsylvania’s electoral votes, and

in fact has conceded it will not. See Stein, Why the recount matters: Jill Stein,

USA Today (Dec. 1, 2016) (conceding that the “goal” of the recount “is not to

change the result of the election”).8 Reitz has no better claim to standing. Even if

he voted in the election, there are no factual allegations or evidence that give rise

to a plausible assumption that his vote was not properly counted.

         Assuming they do have standing, what relief do Stein and Reitz seek? That

Pennsylvania comply with a procedure she and her own experts devised—a hand

recount of “the paper ballots in optical scan counties,” and a “forensic

examination” in counties using direct-recording electronic systems. (PI Mot. at 1.)


8
    Available at https://perma.cc/VZK4-5BVF.

                                               8
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 14 of 42




Those procedures, we learn from Stein, are compelled by the Constitution of the

United States to ensure election “integrity.” And that is true, we are told, even

where a plaintiff (like Stein) maintains only the mere suspicion of electoral

improprieties

      Where in the United States Constitution can one find the blanket

constitutional right to a recount to ensure election integrity? Nowhere. No one

doubts the fundamental nature of the right to vote. But no court, to our knowledge,

has read that privilege to include not only the right to cast one’s vote, but also the

right to request a recount after the vote to ensure an election’s integrity. It thus

should come as no surprise that a federal court in Michigan just yesterday rejected

Stein’s claims there, finding no constitutional right to a speculation-fueled recount.

See Order, Stein v. Thomas, No. 2:16-cv-14233 (E.D. Mich. Dec. 7, 2016) (ECF

36) (attached as Exhibit 2). Which only makes sense. After all, if all Americans

do enjoy that right, ballot counting could become year-round sport.

      Will Stein be irreparably harmed absent the Court’s intervention? No, a

conclusion bolstered by Stein’s own actions. Despite having suspicions about the

integrity of Pennsylvania’s voting systems before the November 8 election, and

having an opportunity to seek relief immediately after the election, Stein waited

until November 28—the last possible day—to file her election contest in the

Commonwealth Court, and December 5, nearly a month after the election, to file


                                           9
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 15 of 42




this suit. Anyone fearing an irreparable injury of the magnitude suggested here

surely would have acted sooner. Stein did not, and she now has only herself to

blame for much of the purported emergency she now asserts.

      Finally, does Stein satisfy any of the other elements that must be met before

emergency relief is granted? No, most notably because her request does not serve

the public interest. If granted, her requested relief is certain to harm election

officials, voters, and vote counters forced hastily to take up recounts, creating

confusion and uncertainty in an already challenging environment. Such relief

would also harm all Pennsylvanians, who would not only be on the hook for a

multi-million-dollar recount tab, but who would also face the risk of

disenfranchisement, should their Electoral votes not be counted.

      The one thing over which there should be no question is that Stein’s claims

are baseless and legally flawed. Accordingly, the Court should deny a preliminary

injunction and dismiss the Complaint.

                             STATEMENT OF FACTS

      For most, the November 8, 2016 presidential election concluded early the

next morning, when the major news outlets declared President-elect Donald Trump

the winner and Secretary Hillary Clinton graciously conceded. But not for Dr. Jill

Stein. After an aggressive online fundraising push, Stein and her campaign

attorney, through voters they corralled, filed recount petitions throughout the State,


                                          10
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 16 of 42




and also brought an election contest in Pennsylvania’s Commonwealth Court on

November 28, the statutory deadline for filing such a case.

      As in this case, the election-contest petition invited the Commonwealth

Court to revisit the November 8 election for United States President and Vice-

President due to the alleged possibility of foreign-sourced hacking. The petition

did not allege a single known or even a single suspected incident of hacking in

Pennsylvania. Nor did it identify which foreign entities would have engaged in the

hypothesized hacking, or indicate which presidential candidates would have

benefited or been harmed from such conduct. Instead, it merely expressed a belief

that the possibility for hacking existed, and, on this basis, requested a statewide

recount.

      On November 29, the Commonwealth Court scheduled a hearing on the

election-contest petition for Monday, December 5, at 10 a.m. See Order (attached

as Exhibit 3). On December 2, the court issued another order setting the statutorily

required bond at $1,000,000, which it directed to be posted by 5:00 p.m. on

December 5. See Order (attached as Exhibit 4). The schedule thus allowed

petitioners to argue their case and potentially obtain a ruling on Monday morning

before having to post a bond that evening. The Commonwealth Court also gave

the parties the opportunity to address the bond amount in the meantime if they

were unhappy with it. See id. (“Upon good cause shown, the amount of the bond


                                          11
      Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 17 of 42




may be modified by the Court.”). To make this remedy easily available over the

weekend, the Chief Clerk of the Commonwealth Court notified counsel that the

court would accept filings submitted through PACFile (Pennsylvania’s electronic-

filing system) after hours, and in turn would docket them before the hearing.

      On Saturday, December 3, petitioners moved to withdraw their petition.

Even though (1) Stein had raised nearly $7 million at the time (and has since

exceeded that number), (2) the court expressly authorized petitioners to request a

different bond amount for good cause, and (3) petitioners could have argued their

case before having to post a bond, petitioners simply asserted that they could not

afford to post the bond. “Petitioners are regular citizens of ordinary means,” they

claimed, and thus could not “afford to post the $1,000,000 bond required by the

Court.” See Praecipe to Discontinue and Withdraw (attached as Exhibit 5). The

court thus closed the case that day. See Order (attached as Exhibit 6).

      While petitioners’ much-publicized explanation for their voluntary

withdrawal was on its face implausible given the considerable resources Stein had

raised, Stein has since confirmed that the explanation was in fact false. She

explained that “the problem was not that [the $1 million bond] was too expensive,”

but that the state-court proceeding “was a dead-end course of action” since she had

no evidence of election-related tampering to present at the hearing. Prachi Gupta,

Jill Stein on What’s Next With the Recount Effort in Wisconsin, Michigan, and


                                         12
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 18 of 42




Pennsylvania, Cosmopolitan.com (Dec. 6, 2016) (emphasis added).9 The

withdrawal, in other words, was strategic.

       This makes sense. As Stein’s public comments confirm, she and her allies

knew that petitioners could not possibly meet the substantive requirements for

contesting the election. Under the governing election-contest standards, they were

required to exercise “due diligence to ascertain and specify the facts which, if

sustained by proof, would require the court to set aside the result of the election.”

Gollmar’s Election Case, 175 A. 510, 512 (Pa. 1934). This standard required

allegations of particular acts of fraud, that such fraud increased the vote of the

victor, and that it affected the outcome of the election. See id. Yet the election-

contest petition failed to meet even these basic pleading standards. It did not allege

any specific acts of fraud or tampering in Pennsylvania, much less that any such

fraud increased the votes of President-elect Trump, let alone to such degree that it

affected the outcome of the election. Nor did the petition identify any basis for

believing that Stein’s ongoing recount efforts would uncover even a shred of

evidence of election tampering. But rather than risk a court stating these

conclusions on the record and thereby undermining her three-state recount efforts,

Stein opted instead to withdraw and try her hand in yet another forum, this time a

federal one.

9
 Available at http://www.cosmopolitan.com/politics/a8467128/jill-stein-voter-recount-
wisconsin-michigan-pennsylvania/.

                                              13
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 19 of 42




      On December 5, Stein filed suit in this Court. In her complaint, Stein

alleged that the very state-devised system she invoked in the previous weeks was

unconstitutional because, in her estimation, it makes a statewide recount too

difficult. But despite allegations of imminent and irreparable harm to her alleged

constitutional rights, Stein waited a day to file her motion for preliminary

injunction seeking a statewide recount and forensic examination of Pennsylvania’s

voting systems. The premise of Stein’s argument—in direct contradiction to what

she told the media and the public—is that the $1 million bond was an

“insurmountable barrier[]” to obtaining a recount, and thus an unconstitutional

abridgment of the right to vote. (Mot. for PI at 30.)

      Finally, while Stein’s county-level efforts to force a recount and obtain

forensic examinations are too numerous to describe here, one such proceeding is

worth noting—specifically, Stein’s request for recounts and forensic examinations

in Philadelphia County. The Philadelphia County Board of Elections granted her

recount requests, but denied her request to conduct forensic examinations during

that process. Stein appealed and, on December 7, the Pennsylvania Court of

Common Pleas affirmed, concluding that Stein possessed no state-law right to the

forensic examinations she requested. See Opinion, Stein v. Philadelphia Cnty. Bd.

of Elections, No. 161103335 (Ct. of Common Pleas) (attached as Exhibit 7).




                                          14
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 20 of 42




      In the course of reaching that conclusion, the court made several

observations that bear repeating here. The court explained that Stein had a

statutory right not only to be present when the county board tested its voting

systems both before and after the election, but also “to have a technically qualified

person there to make independent tests of the equipment prior to, during, and

following the vote count.” Id. at 3. But, the court noted, there was no evidence

that “Dr. Stein took advantage of these provisions.” Id. The court added that the

Board’s recount efforts “revealed no discrepancies in the electronic tallies,” and

that there was “absolutely no evidence of any voting irregularities.” Id. at 4.

                                   ARGUMENT

      The Court should deny Plaintiffs’ request for a preliminary injunction, both

because this Court lacks jurisdiction over the asserted claims and because Stein

cannot possibly satisfy the standards for obtaining such relief.

      But before addressing these issues, Intervenors note the mandatory deadline

imposed by the federal safe harbor set forth in 3 U.S.C. § 5. This provision

requires certification of the Presidential Electors by Pennsylvania’s Governor on or

before December 13, 2016. See also Bush v. Gore, 531 U.S. 98, 110 (2000).

Meeting this deadline is critical to participating in the formal Electoral College

vote on December 19, 2016. See 3 U.S.C. § 7. The remedies Plaintiffs request,




                                          15
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 21 of 42




even if merited, could thus never be implemented in time, a fact that alone justifies

denying Plaintiffs’ requested relief.

      The following are additional grounds for reaching the same result.

I.    This Court Lacks Jurisdiction Over This Suit.

      A.     Plaintiffs lack standing.
      “A party has standing only if he shows that he has suffered an ‘injury in

fact,’ that the injury is ‘fairly traceable’ to the conduct being challenged, and that

the injury will likely be ‘redressed’ by a favorable decision.”          Wittman v.

Personhuballah, 136 S. Ct. 1732, 1736 (2016). Stein, however, has not alleged an

injury-in-fact likely to be redressed by any ruling related to the need for a recount.

She does not contend that she will (or even might) win Pennsylvania’s electoral

votes after a recount. Nor, in any event, would a victory in Pennsylvania send

Stein to the White House. After all, Stein gained no more than three percent of the

vote in any state where she appeared on the ballot.         See America’s Election

Headquarters,    FOX     NEWS,     http://www.foxnews.com/politics/elections/2016/

presidential-election-headquarters (last visited Nov. 29, 2016). Accordingly, she

has failed to allege facts showing that she has suffered a constitutionally

cognizable injury.

      Nor does Plaintiff Reitz satisfy Article III standing requirements. Reitz

describes himself as a “voter in the State of Pennsylvania.” Assuming Reitz did


                                         16
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 22 of 42




vote, he still has not alleged any facts giving rise to a plausible assumption that his

vote was not properly counted. He is left with only a “merely speculative” injury,

one that does not meet Article III’s injury-in-fact requirement for establishing

standing. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).

      Insofar as Plaintiffs seek to defend the interest in a free and fair election,

they have no standing to assert that grievance either. It is a “generally available

grievance,” one for which relief benefits Plaintiffs no more “than it does the public

at large.” Id. at 573–74 (“We have consistently held that a plaintiff raising only a

generally available grievance,”—“claiming only harm to his and every citizen’s

interest in proper application of the Constitution and laws, and seeking relief that

no more directly and tangibly benefits him than it does the public at large—does

not state an Article III case or controversy.”). That generalized grievance “does

not state an Article III case or controversy.” Id. at 574. And even if Plaintiffs

could seek relief for a generalized grievance, they failed to allege any facts

plausibly suggesting that fraud or mistake tainted the election results.

      This Court thus has no jurisdiction over this case, which alone warrants

denying Plaintiffs’ request for a preliminary injunction.

      B.     The Rooker-Feldman Doctrine deprives this Court of jurisdiction
             over Plaintiff’s claims.
      In addition to Plaintiffs’ standing problem, the Rooker-Feldman doctrine

independently deprives this Court of jurisdiction over Plaintiffs’ claims.

                                          17
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 23 of 42




       1. The Rooker-Feldman doctrine provides that “lower federal courts lack

subject matter jurisdiction to engage in appellate review of state-court

determinations or to evaluate constitutional claims that are inextricably intertwined

with the state court’s decisions in a judicial proceeding.”            Port Auth. Police

Benevolent Ass'n, Inc. v. Port Auth. of N. Y. & N.J. Police Dept’t,, 973 F.2d 169,

177 (3d Cir. 1992) (citing D.C. Court of Appeal v. Feldman, 460 U.S. 462, 483

n.16 (1983)).     The doctrine “precludes lower federal courts from exercising

appellate jurisdiction over final state-court judgments because such appellate

jurisdiction rests solely with the United States Supreme Court.” Madera v.

Ameriquest Mortg. Co. (In re Madera), 586 F.3d 228, 232 (3d Cir. 2009) (quoting

Lance v. Dennis, 546 U.S. 459, 463 (2006)).

       “[T]here are four requirements that must be met for the Rooker-Feldman

doctrine to apply: (1) the federal plaintiff lost in state court; (2) the plaintiff

complains of injuries caused by the state-court judgments; (3) those judgments

were rendered before the federal suit was filed; and (4) the plaintiff is inviting the

district court to review and reject the state judgments.” Great W. Mining &

Mineral Co. v. Fox Rothschild L.L.P., 615 F.3d 159, 166 (3d Cir. 2010).

       “The second requirement—that a plaintiff must be complaining of injuries

caused by a state-court judgment—may also be thought of as an inquiry into the

source of the plaintiff’s injury.” Id. Under this requirement, “[t]he critical task is


                                            18
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 24 of 42




… to identify those federal suits that profess to complain of injury by a third party,

but actually complain of injury produced by a state-court judgment and not simply

ratified, acquiesced in, or left unpunished by it.” Id. at 167 (quoting Hoblock v.

Albany County Board of Elections, 422 F.3d 77, 88 (2d Cir. 2005)). “A useful

guidepost is the timing of the injury, that is, whether the injury complained of in

federal court existed prior to the state-court proceedings and thus could not have

been ‘caused by’ those proceedings.” Id.

      “[C]losely related” to the second requirement, the fourth element “targets []

whether the plaintiff’s claims will require appellate review of state-court decisions

by the district court.” Id. at 169. Prohibited appellate review “consists of a review

of the proceedings already conducted by the lower tribunal to determine whether it

reached its result in accordance with law.” Id. (quoting Bolden v. City of Topeka,

441 F.3d 1129, 1143 (10th Cir. 2006)). Prohibited appellate review also includes

constitutional claims that a plaintiff declined to assert in state court but are

“inextricably intertwined with” the state court’s decision. Feldman, 460 U.S. at

482 n. 16.

      2. Here, all four requirements of the Rooker-Feldman test are met. First,

Plaintiffs lost their election contest. They sought a statewide recount and a

declaration that the presidential election was “illegal,” but they failed to obtain

either. They also requested a bond amount of $25,000, which the Commonwealth


                                           19
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 25 of 42




Court rejected in setting the bond at $1,000,000. While Reitz was a formal party in

that proceeding and Stein was not, Stein has been the driving force behind all of

the recount efforts in Pennsylvania, Michigan, and Wisconsin. Having publicly

owned that role and raised millions as a result, she should be estopped from

claiming that she was not a party in the state-court proceeding, especially where

doing so would allow her to evade subject-matter limitations on this Court’s

jurisdiction.

      Second, it is the Commonwealth Court’s decision to set bond at $1,000,000

that (according to their pleadings) caused petitioners to withdraw their election

contest—the same decision Plaintiffs allege caused their injuries here. Indeed,

Plaintiffs repeatedly cite the bond amount as one of the “insurmountable barriers”

to vindicating their alleged constitutional right to a recount and forensic

examination. (PI Mot. at 30, 35.) And the fact that this barrier did not “exist[]

prior to the state-court proceedings” (Great W. Mining & Mineral Co., 615 F.3d at

166) reinforces that the state-court judgment caused Plaintiffs’ asserted injuries.

      Third, the state-court judgments were rendered before the federal suit was

filed. The Commonwealth Court established the bond amount on December 2 and

closed the case on December 3. This suit was not filed until December 5.

      Finally, Plaintiffs are inviting this Court to review and reject a state

judgment—namely, the Commonwealth Court’s decision to set a $1,000,000 bond.


                                          20
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 26 of 42




Plaintiffs have alleged that this decision abridged their constitutional rights by

imposing an onerous burden on obtaining a statewide recount. To state the

argument is to demonstrate that Plaintiffs’ constitutional claims and the bond

amount are “inextricably intertwined.” Feldman, 460 U.S. at 482 n.16. Plaintiffs’

theory here would thus necessarily entail review of the state court’s decision,

which is precisely what the Rooker-Feldman doctrine prohibits.

      Enforcing this doctrine is particularly important in today’s case. In setting

the bond, the Commonwealth Court expressly indicated that it was open to

modifying the amount upon a showing of “good cause.” Plainly, avoiding a

constitutional violation would amount to “good cause.” The Commonwealth Court

even allowed the parties to file after hours and over the weekend. While

petitioners took advantage of this concession to withdraw their petition, they

declined to request a lower bond amount. Having made the decision not to raise

their constitutional concerns in the state forum, Plaintiffs should not be permitted

to obtain review of the bond amount here. That would effectively allow an end-run

around the state judiciary, and impermissibly expand this Court’s subject-matter

jurisdiction.

II.   Plaintiffs Are Not Entitled To Injunctive Relief.
      Even setting aside the fundamental jurisdictional problems inherent in the

Complaint, Stein’s request for a preliminary injunction fails on the merits: there is


                                          21
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 27 of 42




no constitutional right to a recount and, even if there were, her request is much too

late to justify such relief. And because the other preliminary-injunction factors

weigh against her request, she has not carried her burden to obtain the

“extraordinary remedy” she seeks. AT&T v. Winback & Conserve Program, Inc.,

42 F.3d 1421, 1426-27 (3rd Cir. 1994).

      A.     Stein has not established any likelihood of success on her
             constitutional claims.

      1. Boiled down, Plaintiffs charge that Pennsylvania’s Election Code is

unconstitutional because, in Stein’s estimation, it makes obtaining a statewide

recount too difficult, especially for 1% candidates like herself. This argument

borders on the frivolous, as there is no constitutional right to a recount, especially

so where there is no evidence of fraud or tampering.

      The First Amendment gives a right to political association. The Fourteenth

Amendment requires that, if states permit voters to vote for president, they must

fairly tabulate the votes. And the Due Process Clause prohibits voting procedures

that are fundamentally unfair. But the mere absence of an easily invoked,

mandatory statewide recount provision does not jeopardize any of these rights.

There is no dispute that every Pennsylvania voter had the legal right and ability to

cast his or her vote. Nor is there evidence—or even an allegation—that the votes

already cast have not been fairly and accurately tabulated. Indeed, Plaintiffs cite

no evidence of tampering or fraud, but instead invoke the possibility that someone,

                                          22
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 28 of 42




somewhere tampered with a voting machine (or machines!) in Pennsylvania.

Who? We are not told. To help which candidate? Again, we are not told. How

did they do it? Silence.

      We are thus left solely with speculation that the results could have been

inaccurate, which Stein insists triggers a constitutional right to a recount to show

that they are not. By that logic, however, every person, in every state, has the

constitutional right to a recount anytime one thinks votes might have been

inaccurately counted, without regard to whether that person has evidence

suggesting as much. And the tab for those recounts would be the state’s alone,

calling into question ubiquitous state laws requiring recount requestors to pay some

or all of the recount fee. After all, just as the right to cast a ballot cannot be

infringed by a poll tax, see generally Harper v. Bd. of Educ., 383 U.S. 663 (1966),

the recount right similarly could not encumbered by state fees.

      All of this explains why the only court to address the precise claims Stein

raises here rejected them in full. On Wednesday, a federal district court in

Michigan denied Stein’s request for a statewide recount in that state. See Order,

Stein v. Thomas, No. 2:16-cv-14233 (E.D. Mich. Dec. 7, 2016) (ECF 36) (attached

as Exhibit 2). The reasons for doing so was eminently clear: “[t]here is no case

law recognizing an independent federal right to a recount that either this Court or

the parties have come across, in the absence of actual deprivation of voting rights.”


                                            23
        Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 29 of 42




Id. at 7. And “to date,” the court explained, “Plaintiffs have not presented

evidence of tampering or mistake.” Id. “Instead,” as in this case, “they present

speculative claims going to the vulnerability of the voting machinery—but not

actual injury.” Id. And “because mere potentiality does not amount to a claim that

the vote was not fairly conducted,” the court concluded that plaintiffs had shown

“[n]o likelihood of success” on the merits. Id. Indeed, Plaintiff’s theory “has

never been endorsed by any court”:

       [I]nvoking a court’s aid to remedy that problem in the manner
       Plaintiffs have chosen—seeking a recount as an audit of the election
       to test whether the vulnerability led to actual compromise of the
       voting system—has never been endorsed by any court, and would
       require, at a minimum, evidence of significant fraud or mistake—and
       not speculative fear of them. Such evidence has not been presented
       here.

Id. The court did not engage in the balancing test Plaintiffs invite here (PI Mot. 29-

30), but rightly dismissed the claims out of hand since (as here) there was no

evidence that Stein’s rights were burdened at all.10

       Nothing in Plaintiffs’ 41 pages of briefing here undermines these

conclusions. Indeed, Plaintiffs do not cite a single case suggesting that there is a

10
   Plaintiffs cite an earlier, now-dissolved TRO order from the same federal district court. (PI
Mot. 32-33.) But that order is wholly inapposite, because it merely addressed the timing of a
statewide recount that had already been ordered by the state elections board on state-law grounds
(the district court did not, as Plaintiffs misleadingly suggest, order the statewide recount in the
first place). See Order at 4, Stein v. Thomas, No. 2:16-cv-14233 (E.D. Mich. Dec. 5, 2016) (ECF
16). Shortly after the TRO was issued, the Michigan Court of Appeals ruled that Stein lacked a
right to a recount under state law. Within 24 hours of that ruling, the federal district court
promptly dissolved its TRO and issued the opinion (discussed above) rejecting Stein’s alleged
constitutional right to a recount.

                                                24
         Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 30 of 42




constitutionally protected right to a recount. Plaintiffs’ decisions are not even

close. Some involved challenges to a decision not to count a voter’s ballot in the

first place. See Hoblock v. Albany Cty. Bd. of Elections, 487 F. Supp. 2d 90, 98

(N.D.N.Y. 2006); Griffin v. Burns, 570 F.2d 1065, 1074 (1st Cir. 1978). Others

involved challenges to provisions governing candidates’ ability to appear on the

ballot. See Anderson v. Celebrezze, 460 U.S. 780 (1983); Belitskus v. Pizzingrilli,

343 F.3d 632, 636 (3d Cir. 2003); Constitution Party of Penn. v. Cortes, 116 F.

Supp. 3d 486 (E.D. Pa. 2015). One case involved constitutional claims based on

deficiencies in the state system that allegedly precluded plaintiffs from voting or

resulted in their votes not being counted. League of Women Voters of Ohio v.

Brunner, 548 F.3d 463, 469 (6th Cir. 2008). Still others involved a decision to

cancel or refuse to hold an election altogether. See Bonas v. Town of N. Smithfield,

265 F.3d 69, 75 (1st Cir. 2001); Duncan v. Poythress, 657 F.2d 691, 693 (5th Cir.

1981).

      Others are even further afield. One case declined a request by voters for a

preliminary injunction stopping a manual recount provided under state law. Siegel

v. LePore, 234 F.3d 1163, 1187 (11th Cir. 2000). Another case concerned the

validity of an indictment that alleged violations of the Enforcement Act of 1870,

which protects voters from intimidation. United States v. Mosley, 238 U.S. 383

(1915). And another involved a conspiracy between a candidate and members of


                                          25
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 31 of 42




the county election board “to cause numerous illegally obtained absentee ballots to

be cast.” Marks v. Stinson, 19 F.3d 873, 875 (3d Cir. 1994).

      Regarding this last case, Stein suggests that the Third Circuit court found the

state-law proceedings themselves unconstitutional (for example, because they

required a $50,000 bond). (PI Mot. 35.) That is false. Setting aside that the

Commonwealth Court specifically set a hearing for Stein to present her fraud

claims here (which Stein declined to attend by dismissing the action), Marks cited

the difficulties plaintiffs faced in the state proceedings solely as background for its

abstention ruling. See Marks, 19 F.3d at 879 (“In order to understand the first of

these issues [abstention], some knowledge of the state proceedings in this

controversy is required.”). And, in any event, Marks did not involve a recount, let

alone a constitutionally required recount.

      Thus, none of Plaintiffs’ cases involved a court-ordered recount. In fact,

some of the cases—to the extent they touched on recounts—undermine her

position. See Griffin v. Burns, 570 F.2d 1065, 1078 (1st Cir. 1978) (suggesting a

claim is more likely to succeed where the federal court is “not asked to count and

validate ballots”); League of Women Voters of Ohio v. Brunner, 548 F.3d 463, 478

(6th Cir. 2008) (expressly contrasting the case before it, which alleged a plausible

constitutional claim, with a claim requesting “a recount of the 2004 electoral

results,” which the court suggested would not be proper). At the very least, the


                                          26
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 32 of 42




absence of even a single case granting the relief Plaintiffs demand—and one

squarely rejecting it—is good evidence that they in fact have no constitutional right

to a recount.

      Finally, it is worth reminding the Court of the discrepancies between Stein’s

public comments and the constitutional arguments raised here. The premise of

Stein’s constitutional argument is that the $1 million bond set by the

Commonwealth Court created an “insurmountable barrier[]” to obtaining a

constitutionally required recount through the state system. Yet Stein, who

instigated and directed the state-court litigation, has since admitted that petitioners’

asserted plight—that they were “regular citizens of ordinary means” who could not

“afford to post the $1,000,000 bond”—was a farce. Posting the bond was not the

problem, she explained. Supra, note 7. Rather, it was the virtual certainty that

petitioners would lose on the merits due to their inability to prove fraud or

tampering. Id. Stein has admitted, in other words, that she has no valid

constitutional grievance, but is simply unhappy that the state court would not roll

over and grant a statewide recount without any evidence of actual fraud.

      With these facts in view, it is clear there is no constitutional violation.

Moreover, even if there were, this Court should decline to grant a preliminary

injunction due to Stein’s decision to make a mockery of the state and federal

courts. “Courts condone neither forum shopping nor forum avoidance.” FMC


                                           27
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 33 of 42




Corp. v. AMVAC Chem. Corp., 379 F. Supp. 2d 733, (E.D. Pa. 2005). “Attempting

to avoid a particular judge or precedent is exactly the kind of forum shopping

anticipated and expressly prohibited by the local rules of many districts.” Id.

Because there is good reason to believe this occurred here, Stein’s efforts should

not be rewarded with a preliminary injunction.

       2. There is another problem with Plaintiffs’ request: it comes much too late

in the day and is thus barred by the doctrine of laches.

      A party asserting the defense of laches must show: “(1) lack of diligence by

party against whom the defense is asserted and (2) prejudice to the party asserting

the defense.” United States v. Koreh, 59 F.3d 431, 445 (3d Cir. 1995). Both

elements are satisfied here.

      First, Stein’s conduct is a study in “lack of diligence.” The premise of

Stein’s claim is that Pennsylvania’s election machinery is vulnerable to attack. But

the machinery has not changed in years. Nor has the evidence that Stein relies

upon in an attempt to support her theory. (See, e.g., PI Mot. at 4, 6-7 (citing

studies, events, and research from 2005, 2007, 2008, and 2009). Thus, if Stein’s

motivation for this recount was truly to ensure election integrity, she could have

raised these issues before the election. And if she had specific concerns about

what had occurred during Pennsylvania’s election on November 8, she could have




                                          28
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 34 of 42




raised these concerns on November 9, immediately following the election.

Pennsylvania law allows for such a challenge. See 25 P.S. § 3456.

      But Stein did not do so. She did not raise her concerns before the election,

as she could have done. She did not raise these concerns immediately following

the election, as she could have done. Instead, she waited until November 28—just

hours before the deadline—to file her election-contest petition, which she then

dismissed before the court-ordered hearing. She then waited two more days to file

her complaint here and three days to file her motion seeking a preliminary

injunction. She now has the audacity to argue that the entire recount and election-

contest process under the Pennsylvania Election Code is unconstitutional, and that

this Court should intervene on an emergency basis.           But it is Stein’s own

unjustified delay that has caused the concerns she now raises. If ever there were a

case of “lack of diligence” by a party, this is it.

      Second, the prejudice to a host of parties—including Intervenors—is clear.

A last-minute, unexpected statewide recount would have the enormous financial

impact of causing Pennsylvania’s taxpayers to shoulder massive expenses to

complete the undertaking in less than a week. It would also cause a logistical

nightmare for both state officials and political parties, who would have to train and

recruit volunteers to assist in conducting and overseeing an accurate recount. And

if this process failed to conclude by December 13 (which it almost certainly


                                            29
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 35 of 42




would), it would jeopardize Pennsylvania’s ability to identify and certify its

Presidential Electors and thus the State’s place at the Electoral College table. This

could disenfranchise millions of Pennsylvania voters, all while robbing the

presidential and vice-presidential candidates of the added electoral heft that

Pennsylvania’s twenty electoral votes would provide. Because this morass could

have been easily avoided by a prompt filing of Stein’s claims, laches independently

bars her requested relief.

      B.     Plaintiffs do not face any irreparable injury.
      Plaintiffs cannot demonstrate any harm, much less irreparable harm, which

explains why their brief struggles to identify any concrete impending injury

(invoking constitutional platitudes instead) and quickly pivots to discussing the

supposed reasonableness of the requested relief (to be clear: in the section on

irreparable harm). (See PI Mot. at 37-39.) This is not surprising. For Stein, there

is no possible outcome of a recount that would cause her to win the statewide

election in Pennsylvania for President of the United States. She received less than

1% of the Pennsylvania vote, and there is simply no conceivable way for any

recanvass or recount to change the more than 2.8 million votes necessary for Stein

to earn Pennsylvania’s twenty electoral votes. Indeed, Stein herself has admitted

that her aim is not to change the election result. Supra, at note 8.




                                          30
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 36 of 42




      As for Reitz, he has not identified any evidence—or, for that matter, even

alleged—that his vote was not properly tabulated. On this record, there is simply

no basis for concluding that either faces irreparable harm.

      C.     Plaintiffs’ requested relief would seriously harm Intervenors.
      Intervenors, Defendants, and all citizens of Pennsylvania face almost certain

irreparable harm if a preliminary injunction is entered, as it would run the risk of

preventing Pennsylvania from meeting state and federal deadlines for participating

in the Electoral College.

      As noted, the federal safe harbor requires Pennsylvania to certify its electors

by December 13. See 3 U.S.C. § 5. State law requires the electors to vote on the

federally scheduled date, December 19.        See 25 P.S. § 3192.     At this point,

however, time is short, especially given the nature of the requested relief. The

State would have just four days to put together a massive workforce capable of

conducting the recounts in over 9,100 election districts, and oversee that the

recount is conducted properly. This is not possible. And to order it creates the

very real possibility of disenfranchising every Pennsylvania voter who exercised

their right to vote on election day.

      D.     Granting an injunction would be contrary to the public interest.
      The recount in question would also undermine confidence in Pennsylvania’s

elections, and force the State to pay potentially millions for a recount admittedly


                                         31
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 37 of 42




undertaken for completely academic reasons.          Perhaps Pennsylvania’s courts

would have concluded that Pennsylvania’s laws required the State to bear those

costs. Stein, however, made certain we would never find out; she and her allies

aborted the state-law process before it was even concluded. But what is clear is

that declining Plaintiffs’ request now will save the State from wasting millions of

dollars of taxpayer money, and thousands of hours of manpower, and will avoid the

chaos that a hurried, last-minute recount would create. Indeed, it is difficult to

emphasize enough the disruption an eleventh-hour recount order would cause to

state electoral processes already underway. Most counties have already certified

their election results. The rest will do so any day now. All must be completed by

December 13, the critical federal safe-harbor deadline. A statewide recount would

thwart that process, and virtually guarantee that the State would not certify its

Presidential Electors by state and federal deadlines, and disenfranchising millions

of voters who voted honestly this election.

      At a minimum, the availability of state-court proceedings (even if Stein

elected to bail out of them for strategic considerations) suggests that this Court

should abstain from deciding this matter.       It could do so under the Younger

abstention doctrine, which applies where there are ongoing state proceedings that

are judicial in nature, the state proceedings implicate important state interests, and

the state proceedings afford an adequate opportunity to raise federal claims. Port


                                         32
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 38 of 42




Auth. Police Benev. Ass’n, Inc., 973 F.2d at 173. Here, it is beyond dispute that

Pennsylvania’s regulation of its election process and an individual’s right to vote is

a state interest of great importance. Additionally, the state-court election contest

certainly afforded Plaintiffs sufficient opportunity to raise their constitutional

claims. Although Plaintiffs voluntarily discontinued the state election contest,

abstention is nevertheless warranted because they had the ability to pursue

remedies in that forum. See id. at 174 (“One cannot escape Younger abstention by

failing to assert remedies in a timely manner in state court.”); Huffman v. Pursue,

Ltd., 420 U.S. 592 (1975) (Younger abstention appropriate where plaintiff sought

injunctive relief in federal court rather than appealing state trial court judgment

within the state system). It is also warranted because Plaintiffs in effect are

requesting this Court to stand in judgment of the Commonwealth Court’s bond

order. See Port Auth. Police Benev. Ass’n, Inc., 973 F.2d at 174 (“the federal

courts must also generally abstain from reviewing the state court orders

themselves, where the state provides an adequate forum for appellate review of all

claims of a federal nature”).

      This Court could also abstain under the Pullman abstention doctrine, which

applies in cases where a litigant asks a federal court to reach a constitutional

question predicated on the federal court’s own, non-binding interpretation of state

law. Moore v. Sims, 442 U.S. 415, 423 (1979). Or, alternatively, the Court could


                                         33
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 39 of 42




apply the Burford abstention doctrine, which is proper “where timely and adequate

state-court review is available and (1) a case presents difficult questions of state

law bearing on policy problems of substantial public import whose importance

transcends the result in the case then at bar, or (2) the exercise of federal review of

the question in a case and in similar cases would be disruptive of state efforts to

establish a coherent policy with respect to a matter of substantial public concern.”

Caudill v. Eubanks Farms, Inc., 301 F.3d 658, 660 (6th Cir. 2002). At the very

least, the spirit of these doctrines—that federal courts not needlessly interfere with

states’ prerogatives—suggests that the Court’s decision to stay its hand would

advance the public interest.

                                    *     *     *

      Stein’s law-defying efforts to enlist this Court’s assistance in upsetting an

election she could not possibly win prompts the question: What is the reason for

Stein’s request? We know it has nothing to do with changing the election’s

outcome. Stein did not win the State of Pennsylvania. Not by a longshot. She

finished over 2.8 million votes behind the winner in the 2016 Presidential election.

      Nor could her request have rested on ensuring the fairness and accuracy of

Pennsylvania’s presidential election. All available evidence indicates that the 2016

general election was not tainted by fraud or mistake.




                                          34
       Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 40 of 42




      So why is Stein seeking a recount? All we know for certain is that she is

using it to line her pockets with funds donated from those she has scared into

believing that Pennsylvania’s electoral process was hijacked by nameless foreign

entities. It would be bad enough if she were wasting only her own time and

resources as part of her electoral farce. But she is also wasting millions of dollars

in taxpayer money and calling into doubt Pennsylvania’s ability to meet the

deadline for certifying its electors in accordance with federal and state law.

      With Stein having made the same demands in neighboring states as well, she

threatened to put at risk confirmation of the entire election’s outcome when

Congress meets in January 2017. Ultimately, Stein cannot change the outcome of

the presidential election. She apparently has no qualms, however, with creating

chaos in her attempts to do so. Rejection of today’s case should amount to the

final blow to Stein’s self-interested electoral odyssey.

                                  CONCLUSION

      For these reasons, Intervenors respectfully request that this Court deny

Plaintiffs’ motion for a preliminary injunction and dismiss their Complaint with

prejudice.




                                          35
Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 41 of 42




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                               36
         Case 2:16-cv-06287-PD Document 38-1 Filed 12/08/16 Page 42 of 42




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                                        37
